Case 1:18-CV-01422-PLF Document 10 Filed 06/25/18 Page 1 of 1

AFFIDAYIT OF PR()CESS_ SERVER

United States District Coul‘t for the District of Columbia

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Gary J. Byrne / GJB, ULC Attorney: Marl< R. Heilbrun
Plairlfiff(S‘), Law Office of Mark Heilbrun
VS , 9412 Crosspointe Drive
' ' Fairfax Station VA 22039

The Clinton Foundation a/k/a Bill, Hillal‘y & Chelsea
Clinton Foundation, et al

 

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Defendant(s).

ease Number= 1;18-cv¢_01422-PLF

Legal documents received by Sarne Day Process Service, Inc. on 06/20/2018 at 12:28 PM to be served upon The
Clinton Foundation a/l`<Y/a Bill, Hillary & Chelsea Clinton Foundation, by serving Corporation Service Company
at 1090 Vermont Ave., NW, #430, Washington, DC 20005

l, Patrick Isidore, swear and affirm that on June 20, 2018 at 2:20 PM, I did the following:

Served The Clinton Foundation a/k/a Bill, Hillary & Chelsea Clinton Foundat.ion, by serving Corporation
Service Company by delivering a conformed copy of the Summons in a Civil Action; Complaint; Civil Cover
Sheet; Exhibits to Louis Lance as Intake Specialist & Authorized Agent of The Clinton Foundation a/k/a Bill,
Hillary & Chelsea Clinton Foundation, by serving Corporation Service Company at 1090 Vermont Ave., NW,
#430 , Washington, DQ:20005.

Description of Person Accepting Service:
Sex: Male Age: 6()-65 Height: 5ft()in-5ft4in Weight: 131-160 lbs Skin Color: Unknown Hair Color: Black

Supplemental Data Appl'opl‘iate to this Sel'vice:

i,-

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional proces§ server over the age of 18 and have no interest in the above legal lnatter.

   

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Patl'i€k I§idol`e § .~, District of CO|umbia: SS

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Same Day Process Serv,ice, Inc. t
1413 K St., NW, 7th Fl¢’)or M,,/»/ /,t~;‘..w»~'

Washmgmn DC 20005 Mich§emo,ash, NO@MH¢, o.c.

(202)-398-4200 li My cpmftiission expires July 14, 2022

Intemai Job ID; 230436 "'
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